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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON



                   In Re: Managed Care                  Case No. 3:20-mc-00852-IM
                   Litigation
                                                        OPINION AND ORDER




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   IMMERGUT, District Judge.

          This matter comes before the Court on Interpleader Managed Care Advisory Group,

   LLC’s (“MCAG”) motions to transfer two pending motions to quash subpoenas pursuant to

   Federal Rule of Civil Procedure 45(f) to the United States District Court for the Southern District


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   of Florida (“SDFL”). 1 ECF 17; ECF 34. On August 21, 2020, Epiq Systems, Inc. (“Epiq”) and

   Neil Manning filed a motion to quash subpoenas that had been issued by the SDFL and served

   on them in Oregon. ECF 1. On August 31, 2020, CIGNA Healthcare, Inc. (“CIGNA”) also filed

   a motion to quash the subpoenas served on Epiq and Manning. ECF 11. On September 3, 2020,

   MCAG filed a motion to transfer Epiq and Manning’s motion to quash to the SDFL. ECF 17. On

   September 15, 2020, MCAG filed a motion to transfer CIGNA’s motion to quash as well. ECF

   34. On September 17, 2020, Epiq and Manning (in one brief) and CIGNA filed their respective

   responses in opposition to MCAG’s motion to transfer. 2 ECF 36; ECF 40. MCAG filed its reply 3

   on October 1, 2020, ECF 43, as well as notices of supplemental authority on October 1 and 7,

   2020. ECF 44; ECF 45.

          For the reasons set forth below, this Court finds that exceptional circumstances exist to

   justify transfer and accordingly GRANTS MCAG’s Motions to Transfer, ECF 17 and ECF 34.




   1
     MCAG has requested oral argument on its motions to transfer. ECF 38, 43. CIGNA has
   requested oral argument on its motion to quash. ECF 11, 42. The Court has determined that oral
   argument would not help it resolve the motions to transfer and pursuant to LR 7-1(d)(1) declines
   to hear oral argument. The Court does not reach the motion to quash.
   2
    CIGNA’s response in opposition to MCAG’s motion to transfer “takes no position as to which
   court should hear the matter,” because CIGNA is a party to the multidistrict litigation in the
   SDFL and accordingly would suffer no burden due to transfer of its own motion to quash to that
   court. ECF 40 at 6-7. Instead, CIGNA “supports” Epiq and Manning’s motion to oppose transfer
   of their motion to quash to the SDFL. Id. at 7. CIGNA filed a response largely to address what it
   perceived as MCAG’s “mischaracterizations.” Id.
   3
     While MCAG’s reply only mentions Epiq and Manning’s response, MCAG “intended this
   filing to serve as a reply to the responses in opposition to the motions to transfer” filed by all
   movants: Epiq, Manning, and CIGNA. ECF 46 at 2. MCAG filed a motion to correct the clerical
   errors in its reply to this effect on October 13, 2020. ECF 46. This Court will accept that
   MCAG’s reply, ECF 43, addresses CIGNA as well as Epiq and Manning.

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                                             BACKGROUND

          Beginning in 1999, various medical providers filed multiple class action lawsuits against

   managed care insurance companies, including CIGNA, alleging that the insurers improperly

   processed and rejected certain physicians’ claims. Managed Care Advisory Grp., LLC v. CIGNA

   Healthcare, Inc., 939 F.3d 1145, 1150 (11th Cir. 2019). These actions were consolidated into

   multidistrict litigation (“MDL”) before the SDFL. After years of litigation, the class and CIGNA

   reached a settlement, and on January 30, 2004, the district court approved the parties’ settlement

   agreement. Id. at 1151. The district court explicitly noted that it retained jurisdiction for “all

   matters relating to [ ] the interpretation, administration, and consummation of the Agreement.”

   Id.

          The settlement agreement appointed Poorman-Douglas Corporation (later acquired by

   Epiq) as the settlement administrator, and appointed Independent Medical Expert Consulting

   Services, Inc. d/b/a IMEDECS, Millennium Healthcare Consulting, Inc., and Mary Falbo,

   IMEDECS’s founder and CEO (collectively, “IMEDECS”) as the Independent Review Entity

   (“IRE”). ECF 17 at 4. Manning was a project manager for Epiq until he was replaced by David

   Garcia. Id. at 5. The settlement agreement “set up a claims process through which class members

   could resubmit claims they believed CIGNA had wrongfully adjudicated.” Id. at 4. If CIGNA

   again denied a claim, the settlement administrator and the IRE determined whether the claim had

   been wrongfully denied and whether to pay it in full or in part. ECF 17 at 4. Accordingly, Epiq

   and Manning “played a central role in executing the terms of that class action settlement.” Id.

          After the settlement, MCAG “entered into an arbitration agreement with CIGNA in an

   attempt to resolve a dispute over a portion of the settlement funds.” Managed Care, 939 F.3d at

   1150. During this arbitration, MCAG attempted to use non-party arbitral summonses to require

   certain non-parties to participate in an arbitration hearing: (1) Epiq, the settlement administrator;
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   (2) Garcia, a project director at Epiq; (3) Manning, a former project manager at Epiq; (4)

   IMEDECS/Millennium Healthcare Consulting, Inc., the IRE; and (5) Falbo. Id. at 1152. The

   summonsed parties objected, and MCAG filed a motion to enforce the summonses in the SDFL.

   Id.

          The validity of these summonses rose to the Eleventh Circuit in September 2019. The

   Eleventh Circuit found that the SDFL retains ancillary jurisdiction to enforce the settlement

   agreement, and, because the arbitration between CIGNA and MCAG “involves disputes

   regarding distribution” of settlement funds, the “district court has ancillary jurisdiction over the

   arbitration.” Managed Care, 939 F.3d. at 1156. Because the summonses to the non-parties

   “‘relat[ed] to’ the Settlement Agreement in which the district court retained jurisdiction,” the

   Eleventh Circuit held that the SDFL’s ancillary jurisdiction included the arbitral summonses. Id.

   at 1156 (quoting the district court’s 2004 language retaining jurisdiction). The Eleventh Circuit

   went on to rule on the merits and hold that the district court lacked authority under Section 7 of

   the Federal Arbitration Act to enforce those arbitral summonses, because the court interpreted

   that provision to “prohibit[ ] pre-hearing discovery from non-parties.” Id. at 1159-60.

          The Eleventh Circuit also held that “the district court abused its discretion by allowing

   the arbitrator to review” settlement claims that CIGNA had already paid to MCAG, because “the

   district court retained jurisdiction over the administration of the Settlement Agreement” and “has

   a responsibility to ensure the class members receive that to which they are entitled under the

   Settlement Agreement.” Managed Care, 939 F.3d at 1162. The court stated that the SDFL

   “should require an accounting regarding funds CIGNA paid to MCAG for claims that were not

   the subject of the arbitration,” because the evidence overwhelmingly suggested that MCAG was

   not properly distributing these funds. Id. at 1163.



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          After the Eleventh Circuit opinion issued, MCAG’s arbitral subpoenas were quashed by

   the SDFL. ECF 11 at 6; ECF 17 at 6. The arbitrator then issued a second set of summonses to the

   same five non-parties, which the magistrate judge also quashed. See In re Managed Care Litig.,

   No. 00-01334-MD, 2020 WL 3643042, at *2 (S.D. Fla. July 6, 2020).

          Just before the magistrate judge’s decision quashing those subpoenas, on June 26, 2020, a

   Stipulated Order signed by District Judge Federico A. Moreno was entered in In re: Managed

   Care Litigation, No. 1:00-md-01334-FAM, the MDL docket, as Document 6677. This Order

   states that the “Parties have agreed that there is no purpose in litigating in two fora, and further

   agree that it would be more economical to have the Court appoint Joseph Matthews as a Special

   Master in federal court, in lieu of the Arbitrator.” Stipulated Order at 1. The parties stipulated to,

   among other things, transfer “all litigation regarding MCAG v. CIGNA to federal court, including

   the current Arbitration,” and that the Eleventh Circuit opinion in MCAG v. Cigna, 939 F.3d 1145

   (11th Cir. 2019) is the “law of the case.” Id.

          After entry of this Stipulated Order by the district judge on June 26, 2020, and the

   magistrate judge’s July 6, 2020, order quashing subpoenas, MCAG issued five subpoenas to the

   same five non-parties, this time pursuant to Federal Rule of Civil Procedure 45 and under the

   issuing authority of the SDFL. ECF 34 at 3. All five recipients of these subpoenas filed motions

   to quash in the three federal courts in whose jurisdiction they reside: this Court, the Southern

   District of California, and the Eastern District of Pennsylvania. Id; see In Re: Managed Care,

   3:20-cv-01623-H-BLM (S.D. Cal. Oct. 7, 2020); In Re Managed Care, 2:20-MC-00083 (E.D.

   Pa. Sept. 30, 2020). On September 30, 2020, the District Court for the Eastern District of

   Pennsylvania granted MCAG’s motion to transfer to the SDFL. ECF 44 at 5. On October 7,




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   2020, the District Court for the Southern District of California granted MCAG’s motions to

   transfer as well. ECF 45 at 5.

                                        LEGAL STANDARDS

          Rule 45 of the Federal Rules of Civil Procedure governs subpoenas in federal court. Rule

   45(a)(2) states that a subpoena “must issue from the court where the action is pending.”

          Rule 45(c) directs that a subpoena may only require compliance near the person’s home

   or usual location. If the subpoenaed person wishes to “quash or modify” the subpoena, he must

   move “the court for the district where compliance is required.” Fed. R. Civ. P. 45(d)(3)(A). This

   Court is the “compliance court” for the subpoenas served on Epiq and Manning for purposes of

   Rule 45. ECF 17 at 3.

          Rule 45(f) states that “[w]hen the court where compliance is required did not issue the

   subpoena, it may transfer a motion under this rule to the issuing court if the person subject to the

   subpoena consents or if the court finds exceptional circumstances.” While local resolution of

   subpoena disputes is preferred, the 2013 Advisory Committee’s Note advises:

          [T]ransfer to the court where the action is pending is sometimes warranted. . . . In the
          absence of consent [by the subpoenaed parties], the [compliance] court may transfer in
          exceptional circumstances, and the proponent of transfer bears the burden of showing that
          such circumstances are present. The prime concern should be avoiding burdens on local
          nonparties subject to subpoenas, and it should not be assumed that the issuing court is in
          a superior position to resolve subpoena-related motions. In some circumstances, however,
          transfer may be warranted in order to avoid disrupting the issuing court's management of
          the underlying litigation, as when that court has already ruled on issues presented by the
          motion or the same issues are likely to arise in discovery in many districts. Transfer is
          appropriate only if such interests outweigh the interests of the nonparty served with the
          subpoena in obtaining local resolution of the motion.

   Advisory Committee’s Note on the 2013 Amendment, Fed. R. Civ. P. 45. Courts applying Rule

   45(f) routinely refer to the 2013 Note’s language in determining its scope. See, e.g., Moon

   Mountain Farms, LLC v. Rural Cmty. Ins. Co., 301 F.R.D. 426, 428 (N.D. Cal. 2014); Agincourt

   Gaming, LLC v. Zynga, Inc., No. 2:14-CV-0708-RFB-NJK, 2014 WL 4079555, at *6 (D. Nev.
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   Aug. 15, 2014); Judicial Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014);

   Cadence Pharm., Inc. v. Multisorb Techs., Inc., No. 16MC22G, 2016 WL 4267567, at *3-4

   (W.D.N.Y. Aug. 15, 2016).

                                                  DISCUSSION

   A. The Existence of a Pending Action

          Epiq, Manning, and CIGNA argue that this Court may not transfer their motions to quash

   under Rule 45(f) to the SDFL because no “action is pending” there after the close of the MDL

   and entry of the settlement agreement. See ECF 11 at 9; ECF 36 at 9; ECF 40 at 18. The text of

   Rule 45(f) does not expressly require a pending action in the issuing court to exist for the

   compliance court to be able to transfer. Rule 45(f) only refers to the “issuing court.” Fed. R. Civ.

   P. 45(f). Nevertheless, pursuant to Rule 45(a)(2), in order to issue a federal subpoena, there must

   be a “pending action.” As noted by the District Court for the Southern District of California in its

   order granting MCAG’s motions to transfer, “[r]egardless of whether there is [a] pending

   ‘action’ or ‘proceeding’ in the [SDFL], the subpoena at issue names the [SDFL] as the issuing

   court.” ECF 45 at 12. Arguably, by issuing the subpoenas that are in dispute, the issuing court

   has presumed there is a pending action.

          Regardless, this Court further finds ancillary jurisdiction exists in the SDFL to provide a

   pending action for purposes of these subpoenas. Ancillary jurisdiction exists for “two separate,

   though sometimes related, purposes: (1) to permit disposition by a single court of claims that are,

   in varying respects and degrees, factually interdependent; and (2) to enable a court to function

   successfully, that is, to manage its proceedings, vindicate its authority, and effectuate its

   decrees.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 379-80 (1994) (internal

   citations omitted). The Ninth Circuit has described ancillary jurisdiction “over collateral

   proceedings” as jurisdiction over proceedings “related to, but technically separate from, a federal

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   lawsuit.” K.C. ex rel. Erica C. v. Torlakson, 762 F.3d 963, 964-65 (9th Cir. 2014) (emphasis in

   original). Collateral proceedings “to enforce a settlement agreement” are well-recognized as

   within ancillary jurisdiction. Id. at 965. In regard to the MDL settlement at issue in this case, the

   Eleventh Circuit found that the “district court retained jurisdiction as to all matters relating to [ ]

   the interpretation, administration, and consummation of the Agreement.” Managed Care, 939

   F.3d. at 1162. Further, it concluded that the SDFL retained ancillary jurisdiction over subpoenas

   that Epiq, Manning, and CIGNA concede were “identical” to the ones now at issue. ECF 39 at 11

   (Epiq and Manning); ECF 40 at 11 (CIGNA). Therefore, assuming Rule 45(f) requires a pending

   action to exist in the issuing court, the SDFL’s ancillary jurisdiction over these subpoenas

   provides such an action.

   B. The Existence of Exceptional Circumstances

           As Epiq and Manning do not consent to transferring their motion to quash to the SDFL,

   this Court may transfer the motions to quash only if “exceptional circumstances” exist to justify

   the transfer pursuant to Rule 45(f). The party seeking transfer bears the burden of showing

   exceptional circumstances to justify transfer. Advisory Committee’s Note on 2013 Amendment,

   Fed. R. Civ. P. 45. This Court finds that MCAG has met that burden.

           The 2013 Advisory Committee’s Note provides examples of potential exceptional

   circumstances: when the issuing court “has already ruled on issues presented by the motion or

   the same issues are likely to arise in discovery in many districts.” Id. Other courts have

   considered factors such as “complexity, procedural posture, duration of pendency, and the nature

   of the issues pending before, or already resolved by, the issuing court in the underlying

   litigation.” Duck v. United States Sec. & Exch. Comm'n, 317 F.R.D. 321, 323 (D.D.C. 2016)

   (quoting Judicial Watch, 307 F.R.D. at 34). Some courts have found judicial economy to be a



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   sufficiently exceptional circumstance. Wright & Miller, § 2451 Purpose and History of the Rule,

   9A Fed. Prac. & Proc. Civ. § 2451 (3d ed.).

           MCAG argues that the same issues are raised in motions to quash filed in three different

   district courts, creating a risk of inconsistent rulings that justifies transfer. ECF 17 at 10. It also

   argues that the “complexity of the underlying action” justifies transfer, noting that “both Judge

   Moreno and Magistrate Judge O’Sullivan have been dealing with this very issue—subpoenas to

   the Movants and the IMEDECS, for more than four years already.” ECF 17 at 11. MCAG also

   argues that transfer “would impose little burden” on Epiq and Manning because they “have

   extensive experience and ties to the SDFL and this very case.” ECF 17 at 12.

           This Court finds that the complexity of the MDL action, the SDFL’s explicit task of

   enforcing the settlement agreement, and the SDFL’s familiarity and history with the issues raised

   in the motions to quash provide exceptional circumstances justifying transfer. The SDFL has

   already ruled on motions concerning subpoenas from MCAG to Epiq and Manning, and it is in

   the best position to rule on these subpoenas, with a more informed background of the 20 years of

   litigation and/or settlement administration that led to this point. See also In Re Managed Care,

   2:20-MC-00083 (E.D. Pa. Sept. 30, 2020) (granting MCAG’s motion to transfer and noting that

   the SDFL has “managed the case for twenty years” and “has a strong interest in ensuring

   uniformity of rulings regarding the motion to quash which raises identical questions as motions

   pending in other jurisdictions”); In Re: Managed Care, 3:20-cv-01623-H-BLM (S.D. Cal.

   October 7, 2020) (granting MCAG’s motions to transfer and noting that a “ruling by this Court

   that is contrary to Judge Moreno’s intention could . . . interfere with his ability to carry out the

   Eleventh Circuit’s mandate”).




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            Further, Epiq, Manning, and CIGNA rely substantially on arguments concerning the

   interpretation and authority of Judge Moreno’s Stipulated Order of June 26, 2020. See ECF 36 at

   8-13 (Epiq and Manning); ECF 40 at 27-30 (CIGNA). Judge Moreno or the SDFL would be in

   the best position to interpret and rule on the effect of Judge Moreno’s Stipulated Order. The fact

   that the SDFL retains ancillary jurisdiction over settlement-related matters only buttresses this

   point.

            The SDFL has handled more than 20 years of litigation in or relating to the MDL and the

   settlement agreement, and that court’s continued control of such issues, especially given the

   court’s ancillary jurisdiction to do just that, is appropriate.

   C. The Exceptional Circumstances Outweigh the Movants’ Interest in Local Resolution

            The 2013 Advisory Committee Note provides guidance on the application of Rule 45(f).

   It counsels that exceptional circumstances cannot merely exist but must “outweigh” the interests

   of the local actors in having the dispute resolved locally. Advisory Committee’s Note on 2013

   Amendment, Fed. R. Civ. P. 45. The “prime concern” is “avoiding burdens” on movants. Id. The

   Court finds that the exceptional circumstances in this case outweigh the interests of Epiq,

   Manning, and CIGNA.

            Even though Epiq and Manning “have at all times had Oregon counsel,” ECF 36 at 14,

   and Oregon is of course on the opposite coast from Florida, the burden of transferring Epiq and

   Manning’s motion to quash to the SDFL is outweighed by the considerable weight of the

   exceptional circumstances detailed above. Further, the 2013 Advisory Committee’s Note states

   that if the motion is transferred, “judges are encouraged to permit telecommunications methods

   to minimize the burden a transfer imposes on nonparties.” Advisory Committee’s Note on 2013

   Amendment, Fed. R. Civ. P. 45. The Southern District of Florida has issued an administrative

   order “strongly encouraging” judges “to conduct court proceedings by telephone or video
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   conferencing where practicable.” In re: Coronavirus Public Emergency, Sixth Order Concerning

   Jury Trials and Other Proceedings, Administrative Order 2020-53, at ¶ 12 (S.D. Fla., filed Aug.

   11, 2020), available at https://web.flsd.uscourts.gov/uploads/adminOrders/2020/2020-53.pdf.

   This Court is hopeful that such efforts will minimize burdens imposed on Epiq and Manning, and

   that the SDFL can provide a more informed and expedient resolution of their motion to quash.

           CIGNA, which filed a motion to quash Epiq and Manning’s subpoenas, “takes no

   position on the Motion to Transfer [its own motion] since it is already a party to the MDL” but

   “supports [Epiq and Manning’s] motion to oppose transfer” of their motion. ECF 40 at 7, 31. The

   Court accordingly finds no burden placed on CIGNA by transferring its motion to quash to the

   SDFL.

                                            CONCLUSION

           For the foregoing reasons, the Court GRANTS MCAG’s Motion to Transfer Movants

   Epiq and Manning’s Motion to Quash, ECF 1. The Court also GRANTS MCAG’s Motion to

   Transfer CIGNA’s Motion to Quash, ECF 11. The motions to quash shall be transferred to the

   United States District Court for the Southern District of Florida. The Clerk of Court is instructed

   to close this case.



           IT IS SO ORDERED.

           DATED this 13th day of October, 2020.


                                                        /s/ Karin J. Immergut
                                                        Karin J. Immergut
                                                        United States District Judge




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